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                                                                              FILED: July 14, 2023

                                                 PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                  No. 22-4369
                                             (1:19-cr-00449-LO-1)


        UNITED STATES OF AMERICA,

                                Plaintiff – Appellee,

                        v.


        KENNETH WENDELL RAVENELL,

                                Defendant – Appellant.

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        NATIONAL ASSOCIATION OF CRIMINAL DEFENSE LAWYERS,

                       Amicus Supporting Rehearing Petition.



                                                   ORDER


                A member of the court requested a poll on the petition for rehearing en banc.

                Judge King, Judge Gregory, Judge Wynn, Judge Thacker, and Judge Benjamin

        voted to grant rehearing en banc.

                Chief Judge Diaz, Judge Wilkinson, Judge Niemeyer, Judge Agee, Judge Harris,

        Judge Richardson, Judge Quattlebaum, Judge Rushing, and Judge Heytens voted to deny
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        rehearing en banc. As the poll failed to garner a majority, the petition for rehearing en banc

        is hereby denied.

               Judge Wilkinson wrote an opinion concurring in the denial of rehearing en banc.

               Judge Gregory wrote an opinion dissenting from the denial of rehearing en banc, in

        which Judge King, Judge Wynn, and Judge Thacker joined.



                                                          For the Court

                                                          /s/ Patricia S. Connor, Clerk




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        WILKINSON, Circuit Judge, concurring in the denial of rehearing en banc:

               With great respect to the fine dissenting panel opinion, rehearing en banc is not

        warranted in this case. The panel majority reached the right conclusion for the right

        reasons. See United States v. Ravenell, 66 F.4th 472 (4th Cir. 2023). Further, this is not an

        en banc case.

               There has been no shortage of process here. The defendant in this case received a

        fair trial lasting three weeks, and the three members of the panel gave his appeal their

        conscientious attention as well. The process has been thorough and extensive.

               The one point of difference between the majority and the dissent is heavily factual,

        and that difference does not justify convening the entire court en banc. Ravenell’s main

        contention is that the district court erred in denying his request for a jury instruction on the

        five-year statute of limitations applicable to his 18 U.S.C. § 1956(h) money laundering

        charge. Per a pre-indictment tolling agreement, any conspiracy had to exist past July 2,

        2014. Contrary to the petitioner’s suggestion, the panel majority’s opinion on this issue

        presents the application of settled propositions of circuit law, and we thus rightly decline

        to disturb it.

               District courts deserve some discretion on whether to include particular jury

        instructions because instructions proceed from the evidence. Jury instructions typically

        come shortly before the case is submitted when district judges are in a much better position

        to assess the evidence before them than are we. The district court found no issue of triable




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        fact that would justify the instruction, and the panel majority found no abuse of discretion

        in its ruling.

               The district court thus did not err in not giving a statute of limitations instruction in

        relation to Ravenell’s 18 U.S.C. § 1956(h) charge. Quite beyond the erroneous nature of

        Ravenell’s proposed instructions, see Ravenell, 66 F.4th at 481–82, the nature of the

        alleged conspiracy bears importantly on the question here. This was a non-overt act

        conspiracy. See Whitfield v. United States, 543 U.S. 209, 219 (2005). A statute of

        limitations defense in a non-overt act conspiracy requires an affirmative showing of

        discontinuation or abandonment by the defendant. See United States v. Walker, 796 F.2d

        43, 49 (4th Cir. 1986). There was no such showing here.

               The facts are detailed in the panel opinion, but to summarize, Ravenell, a defense

        attorney, acted in concert with his law firm’s clients in a years-long money laundering

        scheme involving drug proceeds. One such client was Richard Byrd, a major marijuana

        dealer. Evidence at trial showed that Ravenell advised Byrd how to launder drug proceeds

        through other business ventures, and later Ravenell personally laundered these proceeds

        through his law firm’s trust accounts on Byrd’s behalf. Another client was Leonaldo Harris.

        Ravenell accepted drug proceeds as part of Ravenell’s representation of Harris.

               From the evidence adduced at trial, it is clear that there was no showing of an

        abandonment on the part of the defendant of his membership in the conspiracy or

        affirmative showing of discontinuation before the relevant limitations period. Ravenell

        offered no affirmative evidence showing termination or withdrawal, and trial evidence



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        shows just the opposite. The jury heard testimony, for example, that Ravenell demanded

        more drug proceeds to keep representing Harris after Ravenell’s law firm received a

        payment from Harris in April 2014. See Ravenell, 66 F.4th at 485; J.A. 2094–95.

               And even further, if this was an overt act conspiracy, which it was not, there were

        overt acts taken within the statutory limitations period. Among other things, the jury heard

        evidence that (1) in August 2014, Ravenell made a payment to a towing company on behalf

        of and related to his representation of Byrd, Ravenell, 66 F.4th at 484; J.A. 1321, 3328–31;

        (2) drug proceeds credited to Byrd remained in Ravenell’s firm’s trust accounts past July

        2014, Ravenell, 66 F.4th at 484; J.A. 3328–32; Supp’l App’x at 124–27; and (3) Ravenell

        did not withdraw as Byrd’s or Harris’ attorney until October and November 2014,

        respectively, Ravenell, 66 F.4th at 484–85; Supp’l App’x at 92, 129. These acts not only

        show further that Ravenell neither terminated the conspiracy nor withdrew from it, but they

        also show “[a]cts in furtherance of a criminal conspiracy” that “enable[d] it to continue its

        operations” during the applicable period. See United States v. Smith, 452 F.3d 323, 335

        (4th Cir. 2006).

               The dissenting opinion disputes these facts but cannot dispute the governing law.

        There is no reasonable argument that the district court erred in applying the appropriate

        law for non-overt act conspiracies. The opinions reveal only an argument about the facts

        of the case, as to which I believe the panel majority is quite correct, but which in all events

        does not make for the kind of dispute we need to sit en banc.




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               I do think it crucial that we give the accused a fair trial and appeal, which we

        emphatically did here. He had, and deserved, a wholly fair trial. To vary from settled

        standards of review and settled principles of conspiracy law here would be unwarranted.

               FRAP 35 has reserved the en banc process for questions of “exceptional

        importance.” Fed. R. App. P. 35(a)(2). While every case is important, every case cannot,

        by definition, involve a question of “exceptional importance,” which is what FRAP 35

        requires. The opinions make clear that this fact-intensive dispute is simply not that kind of

        case. The jury reviewed the facts and understood that attorneys must not participate in and

        profit from a client’s illicit drug deals. The lawyer is the champion of the accused in court,

        not a co-conspirator. To conclude otherwise would weaken the foundations of our

        adversary system and the confidence that jurors must necessarily possess in the

        independence of those who undertake the vindication of Sixth Amendment rights in our

        criminal justice system.




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        GREGORY, Circuit Judge, with whom Judge KING, Judge WYNN, and Judge
        THACKER join, dissenting from the denial of rehearing en banc:

               A jury convicted Kenneth Ravenell of participating in a money laundering

        conspiracy, an offense subject to 18 U.S.C. § 3282(a)’s five-year statute of limitations.

        Despite Ravenell’s requests, the district court refused to instruct the jury on the limitations

        period. The jury thus had no way of knowing that Congress set a temporal limit on

        Ravenell’s criminal exposure and, in turn, could not determine whether that limit barred

        Ravenell’s conviction.

               Ravenell appealed, and a divided three-judge panel of this Court affirmed his

        conviction. Today, this Court denies Ravenell’s petition for rehearing en banc, which the

        Federal Rules of Appellate Procedure authorize when “the proceeding involves a question

        of exceptional importance.” Fed. R. App. P. 35(a)(2). Because the district court’s refusal

        to instruct the jury on the statute of limitations stifled the jury’s ability to weigh Ravenell’s

        guilt, and I am hard-pressed to think of a question of greater importance than the

        subjugation of an accused’s constitutional right to a jury trial, I dissent.

                                                       I.

               As explained in the panel opinion, this case involves the criminal prosecution of

        Kenneth Ravenell, a criminal defense attorney, and his ultimate conviction for money

        laundering conspiracy. See United States v. Ravenell, 66 F.4th 472 (4th Cir. 2023).

        Ravenell appealed his conviction on several grounds, including that the district court erred

        by refusing to instruct the jury on the five-year statute of limitations governing the

        conspiracy. The limitations period had long been relevant to the case; before Ravenell was


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        indicted in September 2019, Ravenell and the government agreed to toll the limitations

        period from July 2, 2019, until October 2, 2019. Based on that agreement, Ravenell could

        only be convicted of a conspiracy that continued beyond July 2, 2014.

               During the charge conference, therefore, Ravenell requested a jury instruction on

        the statute of limitations. The district court declined Ravenell’s request, precluding the

        jury from determining whether, based on the evidence it saw and heard, the conspiracy

        continued into the limitations period. Nor did the district court, in declining to give the

        instruction, grapple with whether the record evidence established a conspiracy within the

        bounds of the statute of limitations. Rather than determine whether the instruction was

        supported by the record, the court simply explained that it would not give the instruction

        because “the burden of proof” and “issues like withdrawal” had not “been properly framed

        for the jury.” J.A. 2880.

               The panel majority upheld the district court’s decision, in part because money

        laundering conspiracy is a non-overt act conspiracy. In the majority’s view, the instruction

        was unnecessary because, once the government proved that an agreement occurred,

        continuation into the limitations period was presumed unless Ravenell could show

        withdrawal from or termination of the conspiracy. Ravenell, 66 F.4th at 482–83. The

        majority also determined that Ravenell’s proffered limitations instruction was legally

        deficient, id. at 481–82, and that there was evidence indicating that the conspiracy

        continued beyond July 2, 2014, id. at 483–85. This Court thus affirmed Ravenell’s

        conviction, and Ravenell’s petition for rehearing en banc followed.



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                                                     II.

               “The purpose of a statute of limitations is to limit exposure to criminal prosecution

        to a certain fixed period of time” to “protect individuals from having to defend themselves

        against charges when the basic facts may have become obscured by the passage of time.”

        Toussie v. United States, 397 U.S. 112, 114 (1970). In enacting the statute of limitations

        applicable here, 18 U.S.C. § 3282(a), Congress did not distinguish between defendants

        based on the reprehensibility of their alleged crime or the strength of the government’s case

        against them. Rather, the statute of limitations applies to all “person[s]” being prosecuted

        “for any offense, not capital,” “[e]xcept as otherwise expressly provided by law.” 18

        U.S.C. § 3282(a).    In other words, the statute of limitations—like “[t]he procedural

        protections of the Constitution”—“protect[s] the guilty as well as the innocent.” Minnick

        v. Mississippi, 498 U.S. 146, 166 (1990) (Scalia, J., dissenting).

               Nobody disputes, therefore, that the five-year statute of limitations applies to the

        money laundering conspiracy charge against Ravenell. Yet by declining to instruct the jury

        on the limitations period, the district court overrode Congress’s intent to set limits on

        criminal liability and took a pivotal determination out of the jury’s hands. That is, because

        “[j]urors are not generally equipped to determine whether a particular theory of conviction

        submitted to them is contrary to law,” such as whether “the action in question is . . . time

        barred,” the jury could not divine the existence of the statute of limitations absent such an

        instruction. Griffin v. United States, 502 U.S. 46, 59 (1991). And as a result, the jury in




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        Ravenell’s case could not weigh (let alone understand) the temporal significance of the trial

        evidence.

               Simply put, the jury’s inability to make such a critical finding of fact bears on a

        “question of exceptional importance,” Fed. R. App. P. 35(a)(2), warranting en banc review.

        By preventing jurors from considering the statute of limitations, the district court

        implicated nothing less than the Sixth Amendment’s promise of a “trial[] by an impartial

        jury.” U.S. Const. amend. VI. The Constitution establishes “trial by jury of criminal

        charges as a bedrock safeguard of the people’s liberties,” Jackson v. Denno, 378 U.S. 386,

        405 (1964) (Black, J., dissenting in part and concurring in part), and an embodiment of the

        nation’s “democratic ideals,” Thiel v. S. Pac. Co., 328 U.S. 217, 220 (1946). That promise,

        “fundamental to the American scheme of justice,” Duncan v. Louisiana, 391 U.S. 145, 149

        (1968), entitles a defendant “to have the issue of criminal liability determined by a jury in

        the first instance,” McCormick v. United States, 500 U.S. 257, 270 n.8 (1991).

               Courts are entrusted with bringing the Sixth Amendment’s guarantee to bear

        through their administration of criminal trials. The court’s “instruct[ing] the jury clearly

        regarding the law to be applied in the case,” United States v. Lewis, 53 F.3d 29, 34 (4th

        Cir. 1995), is, in my view, one prerequisite to fulfilling a defendant’s jury trial right.

        Without proper “instructions as to the law, the jury becomes mired in a factual morass,

        unable to draw the appropriate legal conclusions based on those facts,” id., and the Sixth

        Amendment’s guarantee rings hollow. But, as the Supreme Court has recognized, “the

        promise of a jury trial surely meant something—otherwise, there would have been no



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        reason to write it down.” Ramos v. Louisiana, 140 S. Ct. 1390, 1395 (2020). So, pursuant

        to their obligation to preserve that promise, courts must ensure that jurors are properly

        informed of the laws governing a defendant’s criminal exposure. The district court’s

        failure to do so in Ravenell’s case, and the majority’s affirmance of that decision, strikes

        at the heart of Ravenell’s “fundamental constitutional right” to a jury trial. Horner v. Nines,

        995 F.3d 185, 198 (4th Cir. 2021).

               It is therefore unsurprising that the National Association of Criminal Defense

        Lawyers (“NACDL”) submitted an amicus brief in support of Ravenell’s petition for

        rehearing. As the NACDL put it: “As a result” of the panel majority’s opinion, “future

        criminal defendants in this circuit may suffer the same fate as Mr. Ravenell: the denial of

        the constitutional right to have a jury decide if the government has proved beyond a

        reasonable doubt that the prosecution does not violate the statute of limitations.” NACDL

        Br. 2. En banc rehearing is necessary “[t]o uphold the basic rights of the accused.” Id. at

        11.

               The panel majority’s opinion might obscure the high stakes of this case by focusing

        on the nature of the conspiracy of which Ravenell was convicted. To be sure, my colleagues

        are correct that Ravenell was convicted of a non-overt act conspiracy and, therefore, the

        government was not required to prove that an overt act occurred within the limitations period.

        As an initial matter, however, their focus on this detail—and their efforts to distinguish this

        case from those where we have reversed a district court’s failure to instruct on a statute of

        limitations in an overt act conspiracy, see United States v. Head, 641 F.2d 174, 179 (4th Cir.



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        1981)—demonstrates that the refusal to provide a limitations instruction in a non-overt act

        conspiracy presents a novel question meriting en banc consideration.

               More fundamentally, though, this distinction does not nullify the statute of

        limitations for a non-overt act conspiracy. Rather, it bears only on how continuation into

        the limitations period is proven (here, Ravenell must demonstrate that he withdrew from

        the conspiracy, or the conspiracy terminated, before July 2, 2014). And, as I discussed in

        my dissent from the panel opinion affirming Ravenell’s conviction, there are numerous

        facts in the record supporting Ravenell’s argument that the conspiracy terminated outside

        of the limitations period. See Ravenell, 66 F.4th at 498–99 (Gregory, C.J., dissenting).

               The panel majority disputes this by pointing to evidence of the conspiracy’s

        continuation, such as Ravenell’s status as counsel of record for his clients and alleged co-

        conspirators, Richard Byrd and Leonaldo Harris, until October and November 2014,

        respectively. The conclusion that any instructional error would be harmless based largely

        on evidence of Ravenell’s attorney-client relationships threatens to undermine one of the

        Sixth Amendment’s other fundamental protections for criminal defendants: “the right to

        . . . have the Assistance of Counsel for his defence.” U.S. Const. amend. VI. But even

        more, that the panel majority takes a different view of the record only further proves that

        the factual question regarding termination was for the jury, not the Court, to decide. At

        bottom, this “fact-intensive dispute,” in the words of today’s concurring opinion, ante at 4,

        raises the precise evidentiary issues that “jurors are well equipped to analyze,” Griffin, 502

        U.S. at 59.



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               Recognizing “that it was necessary to protect against unfounded criminal charges

        brought to eliminate enemies and against judges too responsive to the voice of higher

        authority,” our Constitution’s framers enshrined the right to a jury as an “inestimable

        safeguard against the corrupt or overzealous prosecutor and against the compliant, biased,

        or eccentric judge.” Duncan, 391 U.S. at 156. It would appear, then, that the concerns

        underlying the jury trial right are of heightened relevance in cases where, as here, the

        defendant is an attorney and his case triggers public scrutiny. Ravenell’s right to have his

        guilt determined by a jury of his peers should have been jealously guarded. But instead,

        the district court undermined that right by taking a crucial determination regarding

        Ravenell’s criminal exposure out of the jury’s hands entirely.

               “In this situation, rehearing en banc was vital to ‘secure the individual from the

        arbitrary,’” and to preserve the jury’s critical factfinding function in this and future cases.

        United States v. Dix, 69 F.4th 149, 154 (4th Cir. 2023) (King, J., dissenting from denial of

        rehearing en banc) (quoting Bank of Columbia v. Okely, 17 U.S. 235, 244 (1819)). By

        denying rehearing, the Court risks whittling away at a constitutional right that has, since

        our nation’s earliest days, played a foundational role in our pursuit of justice. Accordingly,

        I respectfully dissent.




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